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                                                                                       .DEC 1 9 2019
                                 UNITED STATES DISTRJCT COURT                          U.S. DlSTP.iCT COURT
                                                                                     EASTERl\J-DlSTRICT OF MO
                                 EASTERN DISTRJCT OF MISSOURl                               ST. LOUIS
                                       EASTERN DIVISION

UNITED STATES OF AMERJCA,                           )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )
                                                    )    4:19CR1052 JAR/NAB
                                                    )
WAN ANTONIO SOTO,                                   )
                                                    )
       Defendant.                                   )


                                            INDICTMENT

                                               COUNT I

       The Grand Jury charges that:

       Beginning at a time unknown, but including October 2019, within the Eastern District of

Missouri, and elsewhere,

                                       JUAN ANTONIO SOTO,

the defendant herein, did knowingly and intentionally conspire, combine, confederate and agree

with other persons, known and unknown to this Grand Jury, to commit the following offenses

against the United States: to distribute and possess with the intent to distribute a mixture or

substance containing a detectable amount of heroin~ a Schedule I controlled substance, and a

mixture or substance containing a detectable amount of methamphetamine, a schedule II

controlled substance,

        In violation of Title 21, United States Code, Sections 841(a)(l) and 846.

                      Quantity of Controlled Substances Involved in the Conspiracy

        1.          The amount of a mixture or substance containing a detectable amount of heroin

involved in the conspiracy and attributable to him as a result of his own conduct, and the conduct
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of other conspirators, lmown or reasonably foreseeable to him, is one kilogram or more, making

the offense punishable under Title 21, United States Code, Section 84l(b)(l)(A)(i).

        2.       The amount of a mixture or substance containing a detectable amount of

methamphetamine involved in the conspiracy and attributable to him as a result of his own

conduct, and the conduct of other conspirators, lmown or reasonably foreseeable to him, is 500

'grams or more, making the offem;e punishable under Title 21, United States Code, Section

841 (b)(1 )(A)(viii).

                                  FORFEITURE ALLEGATION

        The Grand Jury further finds by probable cause that:

        1.     . Pursuant to Title 21, United States Code, Section 853(a), upon conviction of an

offense in violation of Title 21, United States Code,   Sectio~   841(a)(l), as set forth in Count I, the

defendant shall forfeit to the United States of America any property, constituting, or derived

from, any proceeds obtained, directly or indirectly, as the result of such violation(s) and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of such violation(s).

        2.      Subject to forfeiture is a sum of money equal to the total value of any property,

real or personal, constituting or derived from any proceeds obtained directly or indirectly as a

result of such violation(s).

        3.      If any of the property described above, as a result of any act or omission

of the defendant:

                a.      cannot be located upon the exercise of due diligence;

                b:      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;



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               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided

                       without difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).


                                                              A TRUE BILL.



                                                             FOREPERSON


JEFFREY B. JENSEN
United States Attorney




SARA E. KOPPENAAL, #66605MO
Assistant United States Attorney




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